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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MARK RENFRO, et al.,                         :
               Plaintiffs,                   :       CIVIL ACTION
                                             :
              v.                             :
                                             :
UNISYS CORPORATION, et al.,                  :       No. 07-2098
              Defendants.                    :

                                             Order

       AND NOW, this 26th day of April, 2010, upon consideration of Fidelity Defendants’

Motion to Dismiss, Unisys Defendants’ Motion to Dismiss or in the Alternative Motion for

Summary Judgment, all responses thereto and replies thereon, the April 1, 2010 oral argument on

these motions, and for the reasons stated in the Court’s Memorandum dated April 26, 2010 it is

hereby ORDERED that:

       1.     The Fidelity Defendants’ Motion to Dismiss (Doc. No. 88) is GRANTED.

       2.     The Unisys Defendants’ Motion to Dismiss or in the Alternative Motion for

              Summary Judgment (Doc. No. 89) is GRANTED.

       3.     The Clerk of Court is directed to close this case.



                                             BY THE COURT:



                                             Berle M. Schiller, J.
